                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 19-43760

VIJEY R. SERI, and                                            Chapter 11
SRILAXMI SERI,
                                                              Judge Thomas J. Tucker
            Debtors.
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    ORDER REQUIRING THE DEBTORS TO AMEND DISCLOSURE STATEMENT

         On July 24, 2019, the Debtors filed a plan and disclosure statement, in a document

entitled “Debtors’ Amended Combined Chapter 11 Plan of Reorganization and Disclosure

Statement” (Docket # 63). The Court cannot yet grant preliminary approval of the disclosure

statement contained within this document (“Disclosure Statement”). The Court notes the

following problems, which the Debtors must correct.

         First, in section 2.3 of the Plan on page 11, and in sections IV.D and IV.F of the

Disclosure Statement on page 11, and possibly elsewhere, the Debtors refer to and treat pre-

petition priority tax claims and pre-petition, non-priority, unsecured tax claims as

“Administrative Claims.” That is inaccurate. For example, the Debtors state, in section 2.3 of

the Plan on page 11:

                Debtors anticipate the approximate amount of all Allowed
                Administrative Expense tax Claims to be $94,170.47, pursuant to
                Claims previously filed, however subject to possible further
                amendment, which consist of a Claim owing to the IRS for past
                due income tax liability for tax years 2016, 2017, and 2018; Claims
                owing to the SOM for Michigan Sales Tax and Michigan
                Withholding Tax for tax years 2016, 2017, and 2018; and for
                personal income tax owing for tax years 2016, 2017, and 2018.
                These tax Claims are not subject to 507(a)(8) as Priorities, because
                they have not been assessed within 240 days before the date of the
                filing of the petition, or, they are not for a tax on or measured by




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                 income or gross receipts, such as sales withholding tax.

All of the tax years listed in this passage, for which the Debtors owe taxes, are pre-petition. Such

pre-petition tax claims are not administrative claims under 11 U.S.C. § 507(a)(2). Only claims

for taxes incurred post-petition can qualify as administrative claims.

        Unsecured claims for pre-petition taxes are either priority tax claims, to be treated in a

separate group under 11 U.S.C. § 507(a)(8), or non-priority unsecured claims to be treated in a

class. It appears, from the description of the taxes contained in the passage in the Plan quoted

above, that the Debtors have priority tax claims.1 It also appears, from the proofs of claim filed

by the Internal Revenue Service and the Michigan Department of Treasury, that the Debtors have

both priority tax claims and non-priority tax claims.2

        The Debtors must label, group, and treat § 507(a)(8) priority tax claims separately from

any post-petition tax claims that are administrative claims under § 507(a)(2).3 And the Debtors

must treat any pre-petition, non-priority tax claims in a class.

        The Debtors must also delete the following language from the first sentence of section 2.4

of the Plan on page 11: “Other than the Administrative Expense tax Claims set forth in paragraph

2.3, based upon the scheduled Claims.” The Debtors also must amend sections IV.D and IV.F of

the Disclosure Statement on page 11 to make these sections consistent with the Plan, as

amended.



        1
            In the passage quoted above, the Debtors appear to contend that none of the tax claims have
priority under 11 U.S.C. § 507(a)(8). This seems clearly to be incorrect. But if the Debtors wish to
persist in this contention, they must explain the basis for this contention more fully.
        2
            See Claim Nos. 1-2; 6-1; and 7-1 in the Claims Register.
        3
          Debtors are correct, however, in not placing the § 507(a)(8) priority tax claims in a class. See
11 U.S.C. § 1123(a)(1).



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       Second, section 4.3 of the Plan on page 14 treats the allowed secured claim of Erupaka Y.

Reddy. The Debtors must modify section 4.3(a) of the Plan by deleting “thus, PNC’s second

priority lien is fully secured” and stating instead “thus, Erupaka Y. Reddy’s third priority lien is

fully secured.”

       Third, the Debtors must update section III.E of the Disclosure Statement on page 8, to

take account of the consent judgment that was entered today in Adversary Proceeding No. 19-

4206, between the Debtors and Union Bank.

       Accordingly,

       IT IS ORDERED that no later than July 30, 2019, the Debtors must file an amended

combined plan and disclosure statement that is consistent with this Order.

       IT IS FURTHER ORDERED that also no later than July 30, 2019, the Debtors must file

a redlined version of the amended combined plan and disclosure statement, showing the changes

the Debtors have made to “Debtors’ Amended Combined Chapter 11 Plan of Reorganization and

Disclosure Statement” filed July 24, 2019.



Signed on July 26, 2019




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